           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 1 of 26




 1 Eve-Lynn J. Rapp (SBN 342892)
   erapp@edelson.com
 2 Edelson PC
   2101 Pearl Street
 3 Boulder, Colorado 80302
   Tel: 720.741.0084
 4 Fax: 720.741.0081

 5 Interim Lead Class Counsel

 6 Additional Counsel Listed on Signature Page

 7

 8

 9                                  UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                      SAN FRANCISCO DIVISION

12 MATTHEW AMANS and                                        Case No. 3:21-CV-03577-VC
   BABAK MALEK, individually and on behalf of               Case No. 3:21-CV-03681-VC
13 all similarly situated individuals,                      Case No. 3:21-CV-05528-VC

14                   Plaintiffs,                            CONSOLIDATED CLASS ACTION
                                                            COMPLAINT
15            v.
                                                            1) Breach of Contract,
16   TESLA, INC., a Delaware corporation,
                                                            2) Cal. Bus. & Prof. Code § 17200 et seq.,
17                   Defendant.
                                                            3) Cal. Bus. & Prof. Code § 7160,
18
                                                            4) Cal. Civ. Code. §§ 1750 et seq., and
19
                                                            5) 15 U.S.C. § 1601 et seq.
20

21

22     CONSOLIDATED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
23          Plaintiffs Matthew Amans and Babek Malek bring this Class Action Complaint and Demand

24 for Jury Trial against Tesla, Inc. (“Tesla”) for its unfair and deceptive practices in marketing and

25 selling its solar roof product (referred to herein as the “Solar Roof”). Plaintiffs, for their Complaint,

26 allege as follows upon personal knowledge as to themselves and their own acts and experiences,

27 and as to all other matters, upon information and belief, including investigation conducted by their

28 attorneys.

     CONSOLIDATED CLASS ACTION COMPLAINT                1                   Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 2 of 26




 1                                      NATURE OF THE ACTION
 2          1.      Defendant Tesla, Inc. (“Tesla”) is a manufacturer and seller of electric vehicles and,
 3 more recently, solar panels and battery backup units.

 4          2.      Tesla’s solar energy business emerged after Tesla’s multi-billion-dollar acquisition
 5 of a heavily indebted solar panel company called SolarCity, which was co-founded by Elon Musk

 6 and his cousins. SolarCity was on the brink of collapse when Musk, as CEO of Tesla and a

 7 chairman of SolarCity, orchestrated a merger with Tesla in an effort to save the solar panel business

 8 (and his own multi-million-dollar investment in it).

 9          3.      In order to persuade Tesla’s investors to approve the controversial acquisition, Musk
10 revealed a new product in October 2016—on the set of the television series Desperate

11 Housewives—called the Solar Roof. Musk told analysts that Tesla’s acquisition of SolarCity and its

12 Solar Roof would create a “huge market” for the combined companies. The merger would

13 ostensibly allow Tesla to sell consumers the entire solar energy solution: generation (solar panels),

14 storage (batteries), and transportation (electric cars).

15          4.      The Solar Roof promised novel and enticing solar energy solutions for homeowners.
16 Unlike traditional boxy solar panels that sit atop a roof, the Solar Roof was designed to make the

17 roof itself solar powered. The product comprises individual roof tiles with integrated photovoltaic

18 (PV) solar cells capable of generating energy, while having the appearance of a traditional roof.

19 During the product’s reveal, Musk touted the Solar Roof as more durable than a traditional roof and

20 a more affordable energy solution for homeowners.

21          5.      However, the technology behind the Solar Roof was far from complete at the time
22 Musk revealed the product. The Solar Roof that Musk showcased to investors at the October 2016

23 event was in fact made entirely of non-functional “dummies,” according to engineers familiar with

24 it. Some even referred to the event as “vaporware.” Thus, when the Solar Roof entered the market

25 shortly thereafter, its technology was subprime, and it continued to disappoint in the years that

26 followed.

27          6.      Tesla continued to revise the Solar Roof’s technology and, while still struggling to
28 turn a profit after its SolarCity acquisition, the company released a “Version 3” of the Solar Roof

     CONSOLIDATED CLASS ACTION COMPLAINT                2                  Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 3 of 26




 1 (the now-current version) in late 2019. The newest version of the Solar Roof promised several

 2 improvements over the previous versions including faster installation times and lower costs.

 3 Consumers wishing to purchase a Solar Roof, including Plaintiffs and the Classes (defined below),

 4 pre-ordered the product, agreed to a total project cost (based on their unique installation and roof

 5 requirements), paid a deposit, and prepared their properties for installation.

 6          7.      Unfortunately, after finalizing its purchase and installation agreements with
 7 customers who ordered the newest Solar Roof, Tesla delayed performance beyond the timeframe

 8 promised, switched certain materials without consent, and in April 2021 advised customers that

 9 Tesla would not honor their contracts unless they agreed to a substantial price increase—in some

10 instances just days before the customer’s scheduled installation. Tesla’s price increases

11 substantially, materially, and unilaterally changed the terms of the parties’ purchase agreements and

12 represented as much as a 100% increase for many consumers, amounting to tens of thousands of

13 dollars of additional, not bargained-for, and unanticipated costs.

14          8.      Tesla’s behavior in marketing and selling the Solar Roofs is a textbook bait and
15 switch scheme. The company lured in consumers with promises of stylish, affordable solar energy

16 solutions with predictable installation times and costs, but then sought to hold its customers hostage

17 with unjustified and unlawful price increases and delays.

18          9.      Following Tesla’s announcement in April 2021 that it would not honor its contracts,
19 any consumers who wanted to move forward with the Solar Roof installation in which they had

20 already invested considerable time and money had to agree to pay above and beyond the price they

21 originally agreed to, as there is no alternative or comparable product on the market.

22          10.     Plaintiffs filed suit within weeks of Tesla’s price increase to hold Tesla accountable
23 for its deceptive, unlawful, and unjust conduct and to compel compliance with the terms of its

24 executed contracts.

25          11.     In or around early September 2021, Tesla suddenly reversed course and represented
26 that it would honor its contract pricing agreed to prior to the April 2021 price increase and would

27 refund any increased payments already made. However, Tesla has not agreed to honor the

28 installation dates long-ago promised, and even more troubling, it has continued to deceptively

     CONSOLIDATED CLASS ACTION COMPLAINT               3                   Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 4 of 26




 1 increase pricing (contrary to its representations) and impose new and/or additional charges on

 2 customers, on top of its previously agreed-to prices. In other words, Tesla’s alleged promise to

 3 remedy the price hikes underlying this lawsuit appears to be yet another bait and switch scheme.

 4                                                 PARTIES
 5          12.     Plaintiff Matthew Amans is an adult individual and at all times relevant has been a
 6 citizen and resident of California.

 7          13.     Plaintiff Babak Malek is an adult individual and at all times relevant has been a
 8 citizen and resident of California.

 9          14.     Defendant Tesla, Inc., is a corporation organized and existing under the laws of
10 Delaware with its principal place of business located at 3500 Deer Creek Road, Palo Alto,

11 California 94304.

12                                     JURISDICTION AND VENUE
13          15.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),
14 because (i) at least one member of the Class is a citizen of a different state than Defendant, (ii) the

15 amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (iii) none of the

16 exceptions under that subsection apply to this action. Specifically, Tesla marketed and entered into

17 agreements for its Solar Roof with customers in various states across the country, including but not

18 limited to, Arizona, California, Florida, Massachusetts, Maryland, New Jersey, New York,

19 Pennsylvania, and Oregon.

20          16.     This Court has personal jurisdiction over Defendant because Defendant conducts
21 substantial business in California and has its principal place of business and headquarters in

22 California and this District.

23          17.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant maintains its
24 headquarters and conducts significant business in this District.

25                                 COMMON FACTUAL ALLEGATIONS
26 Overview of the Tesla Solar Roof

27          18.     Tesla currently offers for sale two solar products: traditional solar panels which are
28 installed on top of existing roofs, and the Solar Roof which replaces the entire existing roof. The

     CONSOLIDATED CLASS ACTION COMPLAINT                4                  Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 5 of 26




 1 Solar Roo f is a relatively new technology and consists of roof tiles with embedded photovoltaic

 2   (PV) cells capable of generating electi·icity from the sun.

 3            19.    This new technology promises several new benefits to homeowners.

 4            20.    First, unl ike u-aditional rectangular solar pan els which proti11de from the roof , Solar

 5   Roof tiles seamlessly integrate into the consumer's roof an d thus are more aesthetically pleasing for

 6   homeowners. See Figure 1.
 7

 8

 9

10

11

12

13

14

15
16            (Figure 1)

17            21.    Tesla touts this aesthetic benefit on its website: "Replace your cmTent roof with

18 Solar Roof and power your home with a fully integrated solar system. With a seamless design, each

19 tile looks great up-close or from the su-eet, complementing your home's architecture. " As Elon

20   Musk stated, "[w] hen you have [the Solar Roof] installed on your house, you ' ll have the best roof in

21   the neighbor hood. The aesthetics are that good."

22            22.    Additionally, according to Tesla, the Solar Roof promises to be more durable than a

23   stan dard roofing tile. On its website Tesla explains, "Solar Roof tiles are more than three times

24   sti·onger than standard roofing tiles and are engineered for all-weather protectio n. With a 25-year

25   wananty , Solar Roo f lasts longer than an average roof and protects your home for decades to

26   come."

27            23.    Another significant benefit that the Solar Roof promises over ti·aditional solar pan els

28   is the reduced maintenance associated with the underlying roof. Traditional solar panels may outlast

     CONSOLIDATED CLASS ACTION COMPLAINT                  5                    Case No . 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 6 of 26




 1 the underlying roof, and thus homeowners must disassemble and re-install an existing solar system

 2 in order to address any replacement or repairs needed for the underlying roof. Alternatively, some

 3 roofs may have to be entirely replaced before installing a traditional solar panel system, depending

 4 on their condition.

 5          24.     Tesla also advertises the affordability of the Solar Roof as one of its key features. On
 6 its website, Tesla claims that the price of the Solar Roof is cheaper than purchasing electricity from

 7 the power grid: “Power your home at the lowest price per watt of any national provider and take

 8 control of your monthly electricity bill.” Indeed, Musk drew public attention to the affordability of

 9 the Solar Roof by stating, “It’s looking quite promising that a solar roof will actually cost less than a

10 normal roof before you even take the value of electricity into account. So the basic proposition

11 would be, ‘Would you like a roof that looks better than a normal roof, lasts twice as long, costs less

12 and by the way generates electricity?’ It’s like, why would you get anything else?”

13          25.     Tesla also markets the Solar Roof as being environmentally friendly. Tesla tells
14 consumers they can reduce their carbon footprint with the Solar Roof: “By switching to solar, you

15 will be reducing your carbon emissions and environmental impact of energy use.”

16          26.     On its website, Tesla also campaigned against the bad experience of buying a
17 traditional roof, which it compared to “buying a car through a dealership,” in which “[i]nitial

18 contracts tend to be overly optimistic, and later customers face hidden costs that were never

19 mentioned up front.” Tesla promised “transparency and putting the customer in control,” which it

20 purportedly accomplished through its “Solar Roof calculator” that “lets homeowners estimate the

21 upfront price of the Solar Roof…”

22          27.     By advertising these features, Tesla has attracted considerable consumer interest in
23 its Solar Roof, particularly with consumers building or remodeling a home, or already planning to

24 replace their existing roof.

25          28.     The purchase of a Solar Roof takes place in several steps. Tesla first provides
26 consumers with an early quote for the estimated price of the consumer’s Solar Roof project, which

27 ostensibly comprises the price of the Solar Roof (per estimated square foot) and standard

28 installation costs; then, after exploring the homeowner’s unique project needs, Tesla offers a

     CONSOLIDATED CLASS ACTION COMPLAINT               6                   Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 7 of 26




 1 "contract price" which includ es the price of the Solar Roof system (per custom square foot

 2   measurements) , standard installation costs , and the customer's unique pre- construct ion need s.

 3           29.          Consumers initiate the tran saction by visitin g Tesla 's website and prov idin g Te sla

 4   with their address and curr ent electr icity usage. In "S tep 1," Tesla perf01ms calc ulations that

 5   mea sure the consumer's roof and prov ides a suggested size based on the consume r 's electr icity

 6   consumpt ion and roof size . In advertising these services, Te sla promises to "re commend a system

 7   that maximize s your sav ings based on your average electricity usag e." See Figure 2.

 8
                Stop l           o,do,           Onlln   •
                                 \V       fCI'   o ,m nd            II   y1,t~ tNt m.,Jt m ze your s.,v,ng,
 9
                                                                                                                             Virtual Hom e Assessm ent (Optional)
                                 Vlrtual Home AsussmMt (01>tlon,il)
                                 Log n·o y01,r Tes , Acco-ur,t to 111ns1Yvr QJ9StlQl"ls                                      Log onto your Tesla Account to answer questions
10                                !Ibo ,t /Our tlome. r n.'I i:11'Y°"' d
                                  '1'!.lallat,on progress
                                                                         n .!I 'd tra(k yov                                  about your home, finalize your design and track your
                                                                                                                             1nstollot1on progress.
                You Are Here -   Oes1gn

11                               Wi cr('ilt9 y-wr d4s19n from ,:1er1al1m,09ng anQ 30
                                                                                                                             Design
                                 P•rtnlt                                                                                     We create your design from aerial imaging and 3D
12                               We wC4'k w th your c ty to f e permiu
                                 sv,IN't'\        {k,pnnd1nQ
                                                                                                       '°"  your
                                                                           on \'OUt IGCAl•O!I th,, may tollk«t
                                                                                                                             modeling ;:,long w,th your feedback.
                                 one to t,ve .,.ffk.S..

                                 Site Vu,u                                                                                   Permit
13                               Prior to 1nsull.at10'\, we perform a 5oltevmt to conlir-n no
                                 "'Cid t,-;in,I r«,f               ()( s IC! rf'P,l tS'lfO      tt-QU rod
                                                                                                                             we work with your city to hie permits for your
                                                                                                                             system. Oepond,ng on your locat,on, th,s may take
                                                                                                                             one to five weeks.
14                               Wt,       n you,            )'\te,.,,     S ,C)4'dy.   )'~U   ICCO"\Cle    t O dtte
                                    r.t          l•on typ,ca ly tah0"$ b<-:wffti                    seven ond f ftee<1
                                                                                                                             Site Visit
                                                                                                                             Prior   to inc;.t.::1llation, WP pPrform   or1 c.1tP vic;.1t to   confirm   no
15                               llliSOOdlOn
                                                                                                                             additional    roof or site repairs are required,
                                 We wor"- w rt\ your 1-oca,c ty ~o arr<1n9e ~( an ,nspett,on
                                  ft • t ,r1,t.,1~•on 1scomolet•

16                               Utility Approval
                                 W•   wor~ w,th your Joe.a;\ol• 11vcorrp.tny 10 vot po,rn111,,01
                                 t.:>operate y,ouf S}stem. Oepend ng on your ~at1on. ttus
                                       11 t;tk      Qlll        lQ a,,o,   ..,.ot•t.~
17
                Step4            Powe , on
                                 Ho~t        ut i.t o         ,~u        to ;a,n nto,c...nn.ott1nn         ~or-mont
                                 ti toroyou~.," tuin on !ho s~t('m W• l•t voulmo.,.. whc-r
18                               ~ou ha,e 0etm1ss~n to act,vJ:te ')'Oar svs1em




19

20           (Figure 2)
21           30.         After Step 1, Tesla prov ides consumers with an estimated price for the Solar Roof

22   based on its initi al mea surement s, along with an option to place a pre-o rd er by pay ing a depo sit.

23   Te sla intentionally advert ises a lower est imated pr ice at thi s early phase than what the company

24   reasonab ly expect s the consumer to pay on the final project in orde r to lure cons um ers into m aking

25   a depo sit and begin the project.

26           31.         In Step 2 of the process, Te sla offers its "Des ign" and "S ite Visit" services. In the

27   "D esign" phase, a Tesla technical team manually reviews satellite im ages of the consu mer 's roof

28   and creates a schemat ic of the solar installation (showing the place ment of the solar tile s and their

     CONSOLIDATED CLASS ACTION COMPLAINT                                                                                 7                             Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 8 of 26




 1   size). See Figures 2-3. In the "Site Visit" phase, a Tesla representative conducts an in-person

 2   inspection of the consumer's roof. In adveli ising these serv ices, Tesla explains that, "[p]r ior to

 3   installation , we perf01m a site visit to confom no add itiona l roof or site repairs are required. " See

 4   Figure 2.

 5

 6

 7

 8

 9

10

11

12

13
                          Design                     Root Remova l              Waterproof n g                   Tile Installat ion
14
                          Attla l imagery an-ClJO    Roof,e-mwa1Is              AdU,.bl•                         OJr ,,mpi. dUi9R
                          modehf\9 dettrmint         «>moleted OVl(kl)' anc:I   w.atl\t'rorootlng laver          enable,a\u,land
                                                                                io.,iddrd lo kt!ep you r         C'lff--.c,rm
                                                                                                                            Ille,
15                        )'Cut c u\.lo m cle'li9n   ('Uitlf'<llly
                                                                                f'I.Offt•   uf•   ll'ld   d,'f   l.t--'t•ll•1l6"'




16

17           (Figure 3)

18           32.     Accord ing to Tesla's advertisements, the purpose of Step 2 is to identify any

19   anoma lies or unique shapes in a customer's roof and to recommend an approp ri ate size of the solar

20   a.nay (in other words, the amount of electr icity, in kilowatt hours, the Solar Roof can generate on an

21   average day). Upon review of their project design and customized measurements , customers finalize

22   their purchase by signing a "So lar Roof Purchase & Home Improvement Agreement " (the "Solar

23   Roof Purcha se Agreement"). The Solar Roof Purcha se Agreement contains a consumer's Solar

24   Roof project sp ecification s dete1mined during the review phase (includin g the size of the Solar Roof

25   and pre -construct ion need s) and a contract pri ce, based on tho se sp ecifications.

26           33.     Te sla comp lem ents thi s process with an in-person site visit. The purpose of the in-

27   person site visit is to detect any unique repair s needed at the installation location which may not

28   have been readily apparent from satellite images .

     CONSOLIDATED CLASS ACTION COMPLAINT                                                      8                                       Case No. 21-cv-3577-VC (lead case)
           Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 9 of 26




 1          34.     Consumers reasonably rely on Tesla’s representations that the review phase enables
 2 Tesla to determine the appropriate size and scope of the project and to identify any anomalies in the

 3 project site which may increase the project’s total cost. Because the Solar Roof Purchase Agreement

 4 is entered into at or near the conclusion of Tesla’s review phase, customers reasonably rely on the

 5 contract price to be the final, or nearly final, price for their entire Solar Roof project.

 6 Tesla Unilaterally and Without Justification Increased the Price of the Solar Roof

 7          35.     On or around April 10, 2021, Tesla sent consumers who pre-ordered a Tesla Solar
 8 Roof an email indicating that it increased the Solar Roof prices and would no longer honor

 9 consumers’ contracts (the “Price Increase Notice”). The email stated:

10
            We have increased the price of Solar Roof and have added adjustments for
11          individual roof complexity. Learn More
12          You will receive an email in the next 1-2 days when your new agreement is ready
            for your review and acceptance before moving forward. If you are no longer
13          interested in moving forward with Solar Roof, you can cancel your order by
            logging into your Tesla Account and your deposit will automatically be refunded.
14
            We will be prioritizing customers based on the order in which they accept their
15          updated agreements.
16

17          36.     Consumers who received the April 10th email had already signed a contract and
18 agreed to a final price for the entire Solar Roof installation. These consumers had bargained for

19 performance, paid deposits, and were waiting for their installations.

20          37.     In anticipation of the Solar Roof installation (and as instructed by Tesla), many
21 consumers had spent thousands of dollars to make accommodations and alterations to their

22 property, such as trimming trees to reduce shade on their roof, reenforcing their roof structure in

23 anticipation of the increased weight, and converting their power meters as required by their utility

24 company. Many consumers had also already begun to obtain financing for their Solar Roof, such as

25 by taking out home equity loans.

26          38.     Tesla’s Price Increase Notice imposed significant and material changes to the
27 existing project costs. Consumers have reported price hikes that range from 30% up to (and even

28 exceeding) 100% of the previous agreed-upon price.

     CONSOLIDATED CLASS ACTION COMPLAINT                 9                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 10 of 26




 1          39.     For instance, the publication Electrek interviewed one consumer who entered into a
 2 contract for a Solar Roof system at a total price of $77,019.22, signed a loan agreement for that

 3 amount, and spent $5,000 on home improvement preparations.1 On April 10, 2021, Tesla increased

 4 that consumer’s system price to $118,870.33—over $41,000 beyond the original contract price.

 5          40.     Another consumer told the publication The Verge that “he signed a contract in
 6 February to install the solar roof for $35,000, with an additional $30,000 for the batteries. Later, he

 7 received a ‘terse email’ from Tesla stating that in several days he would receive a new contract with

 8 higher prices. He was then told he now owed $75,000 for the solar roof — a 114 percent increase

 9 — and $35,000 for the batteries.”2

10          41.     In many instances, the Price Increase Notice came just days or weeks before
11 consumers’ scheduled installations. Consumers were left with two options: 1) either pay Tesla for

12 the massive price hike, or 2) cancel their project, in which they have already invested significant

13 time and money.

14          42.     Even worse, in the Price Increase Notice, Tesla implied that the company would
15 delay the installation of the project if the consumer did not accept the new terms—and the massive

16 price hike—right away. (“We will be prioritizing customers based on the order in which they accept

17 their updated agreements.”) Many Solar Roof pre-order customers waited months and even a year

18 or more for their installation only to have Tesla threaten them with further delays if they did not

19 agree to Tesla’s unilateral new terms.

20          43.     At all times, Tesla has known and understood that it lacks any real competition and
21 that its customers lack any alternatives to complete their Solar Roof projects.

22          44.     Before the company issued the Price Increase Notices, Musk revealed that the
23 company made “significant mistakes” in its Solar Roof business. In a conference call with investors,

24 Musk said Tesla had run into trouble “assessing the difficulty of certain roofs,” and said that the

25

26   1
          James Dow, Tesla hikes solar roof price on contracts signed over a year ago, ELECTREK,
   (Apr. 11, 2021), https://bit.ly/3tGAgdR.
27 2
          Andrew J. Hawkins, Tesla is burning its solar roof customers with a huge price increase,
28 THE VERGE (Apr. 12, 2021), https://bit.ly/2RIVlah.

     CONSOLIDATED CLASS ACTION COMPLAINT              10                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 11 of 26




 1 “complexity of roofs varies dramatically.” Musk also admitted that Tesla’s solar energy division is

 2 still not profitable. Tesla’s solution was to retroactively apply a new base pricing model to all of its

 3 already-signed contracts.

 4          45.     In or around September 2021 and in response to the filing of Plaintiffs’ original class
 5 action complaints, Tesla again announced new prices for Plaintiffs and the Class Members’ Solar

 6 Roofs. While Tesla made oral representations that it was reverting the prices for the Class Members

 7 back to the original contract prices (i.e., pre-April 2021 Price Increase), it has not done so uniformly

 8 or accurately, and continues to fleece customers with updates to project designs (which require

 9 higher material and labor costs) and allegedly unforeseen repairs (at further additional cost).

10 Moreover, Tesla has failed to compensate Plaintiffs or the Class Members for damages incurred

11 while Tesla delayed performance, both in terms of time and/or money.

12          46.     Plaintiffs and the Classes seek to enforce their contracts with Tesla for their
13 previously agreed-upon prices of the Solar Roof installation, enjoin Tesla from continuing its unfair,

14 deceptive and/or unlawful practices, and for other relief as allowable under the law.

15                                 FACTS SPECIFIC TO PLAINTIFFS
16          47.     Plaintiffs both entered contracts with Tesla for the purchase of a Solar Roof. For
17 Plaintiffs, and consumers nationwide, this was a months-long process.

18          Plaintiff Amans
19          48.     Plaintiff Amans pre-ordered a Solar Roof and battery backup units from Tesla in
20 June 2020.

21          49.     After Tesla representatives inspected Amans’ roof by using satellite images and
22 conducted an in-person site visit, Amans signed a final Solar Roof Purchase Agreement on March

23 20, 2021 for the total amount of $71,074.42, which included $54,035.69 for the Solar Roof; the

24 remainder of the contract price comprised of accessories and pre-construction costs.

25          50.     In anticipation of the Tesla Solar Roof installation, Amans made changes to his
26 home. For instance, he converted his electrical plan to accommodate solar—which resulted in a

27 higher utility bill without an installed Solar Roof. He also paid for landscaping repairs to limit shade

28 to the roof (to optimize the anticipated Solar Roof), such as having trees trimmed and removed.

     CONSOLIDATED CLASS ACTION COMPLAINT               11                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 12 of 26




 1 Amans did not install a new roof on his home that needed a replacement and he refrained from

 2 upgrading his home’s windows and skylights due to his anticipated Solar Roof installation.

 3          51.     On April 10, 2021—almost 9 months after pre-ordering the Solar Roof—Amans
 4 received a Price Increase Notice from Tesla. Subsequently, Tesla sent Amans a revised Solar Roof

 5 Purchase Agreement in the amount of $146,462.22, an increase of 106%. Tesla did not make any

 6 adjustments to the accessory needs or pre-construction costs, but rather increased the price of the

 7 Solar Roof product from $54,035.69 to $122,404.46.

 8          52.     Amans did not accept Tesla’s price increase and wishes for Tesla to honor its agreed-
 9 upon price of $71,074.42. Amans also wishes for Tesla to compensate him for any landscaping

10 repairs that will have to be re-done due to the delayed installation and his higher utility bills (due to

11 his conversion of his electrical plan to accommodate his solar) during the months when he

12 reasonably expected to have the Solar Roof installed.

13          Plaintiff Malek
14          53.      At the recommendation of his sister, who was a Tesla customer, Plaintiff Babak
15 Malek signed a contract with Tesla for the purchase and installation of a solar roof system for his

16 residence in West Hills, California in November 2020. Plaintiff Malek put down $100 to secure the

17 project.

18          54.     After Tesla completed a more thorough design, Plaintiff Malek signed an adjusted
19 contract on January 23, 2021. The contract price for his 18.48 kilowatt solar roof system, covering

20 3615.409 square feet, was $64,735 (approximately $3,500 per kilowatt). The contract provided that

21 Plaintiff Malek could cancel the contract within five business days of January 24, 2021. Plaintiff

22 Malek did not exercise this option.

23          55.     The adjusted contract stated that installation would commence between one week
24 and six months from January 23, 2021. In March 2021, two technicians representing Tesla inspected

25 Plaintiff Malek’s roof and told him that installation would begin within weeks.

26          56.     In April 2021, Plaintiff Malek’s project was designated as in the “permitting” stage
27 on the Tesla website.

28

     CONSOLIDATED CLASS ACTION COMPLAINT               12                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 13 of 26




 1          57.     On April 10, 2021, along with other Tesla customers, Plaintiff Malek received an
 2 email from Tesla requiring that he approve and sign a new contract. On the Tesla website, Plaintiff

 3 Malek’s new contract showed his total cost as $91,400—an increase of over 40% above his January

 4 2021 contract price. The website showed Plaintiff Malek’s project as back to the “review and accept

 5 design” stage.

 6          58.     Plaintiff Malek made several attempts to contact project advisors at Tesla to no avail.
 7 He finally was able to make contact with one advisor, who gave no explanation for the change in

 8 the contract price other than that it was a “corporate decision.” Since first contacting Tesla in

 9 November 2020 for construction of a solar roof, Tesla changed advisors on Plaintiff Malek’s project

10 five (5) times, further causing delays and breakdown in communications.

11          59.     Plaintiff Malek sent several email inquiries to Tesla to follow up on his contract.
12 Upon reading several news articles in spring 2021, Plaintiff Malek discovered that the sudden

13 increase in price and delays in installation was happening to all other existing customers.

14          60.     On June 25, 2021, Tesla provided yet another amended sales contract. This contract,
15 for the same roof and kilowatt output had increased several thousand dollars, to $95,107. As with

16 prior contracts, this contract stated that installation would begin in approximately one week to six

17 months from contract signing, providing no acknowledgment that Plaintiff Malek had already been

18 waiting several months for installation.

19          61.     Because of the price increase, Plaintiff Malek decided to finance part of the purchase
20 directly with Tesla.

21          62.     In July 2021, Tesla notified Plaintiff Malek that his utility provider was limiting the
22 size of his solar roof to no more than 16.25 kilowatts. Based on this decreased output, Tesla

23 amended the total price to $90,367.44—still much higher than the January 2021 contract price, and

24 over $5,560 per kilowatt.

25          63.     Subsequently, in accordance with its purported reversion to the pre-2021 pricing,
26 Tesla changed the price of Plaintiff Malek’s solar roof installation to $74,934 for 16 kilowatts

27 ($4,683 per kilowatt), which is still significantly more than his original price of $64,735.00 for 18.5

28 kilowatts.

     CONSOLIDATED CLASS ACTION COMPLAINT               13                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 14 of 26




 1          64.     Plaintiff Malek’s residence is considered average in shape/size for his community.
 2 Despite the typicality of his residence, Defendant Tesla has changed the price and timeline of

 3 installation several times. Due to Tesla’s price changes and associated delays, Plaintiff Malek

 4 incurred significant additional damages, including many months of increased utility bills, roof leaks

 5 and water damage from winter storms, and redundant site preparation costs.

 6          65.     After over a year of delay, Tesla has now installed Plaintiff Malek’s solar roof, with
 7 less power and for over $10,000 more than the original contract promised.

 8                                         CLASS ALLEGATIONS
 9          66.     Class Definition: Plaintiffs bring this action pursuant to Federal Rule of Civil
10 Procedure 23(b)(2) and Rule 23(b)(3) on behalf of themselves and a Class of similarly situated

11 individuals defined as follows:

12                  Nationwide Class: All persons with whom Tesla entered into a contract for the
                    purchase and/or installation of a Solar Roof and/or Powerwall energy storage system
13                  in the United States and whom Tesla notified, on or after April 1, 2021, would be
                    required to pay an increased price as a condition for performance (the “Class”).
14
                    TILA Subclass: All persons in the Class who financed all or part of the Solar Roof
15                  directly with Tesla.
16

17 The following people are excluded from the Class and Subclass (collectively, the “Classes”): (1)

18 any Judge or Magistrate presiding over this action and the members of their family; (2) Defendant,

19 Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which the Defendant

20 or its parents have a controlling interest and their current or former employees, officers and

21 directors; (3) persons who properly execute and file a timely request for exclusion from the Classes;

22 (4) persons whose claims in this matter have been finally adjudicated on the merits or otherwise

23 released; (5) Plaintiffs’ counsel and Defendant’s counsel; and (6) the legal representatives,

24 successors, and assigns of any such excluded persons.

25          67.     Numerosity: The exact number of members of the Classes is unknown and is not
26 available to Plaintiffs at this time, but individual joinder in this case is impracticable. The Classes

27 likely consist of thousands of individuals. Members of the Classes can be easily identified through

28 Defendant’s records.

     CONSOLIDATED CLASS ACTION COMPLAINT               14                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 15 of 26




 1          68.     Commonality and Predominance: There are many questions of law and fact
 2    common to the claims of Plaintiffs and the other members of the Classes, and those questions
 3    predominate over any questions that may affect individual members of the Classes. Common
 4    questions for the Classes include but are not limited to the following:
 5          a.      Whether Defendant breached its contract;
 6          b.      Whether Defendant violated Cal. Bus. & Prof. Code & §§ 17200 et seq.;
 7          c.      Whether Defendant violated Cal. Bus. & Prof. Code § 7160; and
 8          d.      Whether Defendant violated 15 U.S.C. §§ 1601 et seq.
 9          69.     Typicality: Plaintiffs’ claims are typical of other members of the Classes, in that
10 Plaintiffs and the members of the Classes sustained damages arising out of Defendant’s uniform

11 wrongful conduct.

12          70.     Adequate Representation: Plaintiffs will fairly and adequately represent and protect
13 the interests of the Classes and have retained counsel competent and experienced in complex class

14 actions. Plaintiffs have no interest antagonistic to those of the Classes, and Defendant has no

15 defenses unique to Plaintiffs.

16          71.     Policies Generally Applicable to the Classes: This class action is appropriate for
17 certification because Defendant has acted or refused to act on grounds generally applicable to the

18 Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

19 standards of conduct toward the members of the Classes, and making final injunctive relief

20 appropriate with respect to the Classes as a whole. Defendant’s policies challenged herein apply and

21 affect members of the Classes uniformly and Plaintiffs’ challenge of these policies hinges on

22 Defendant’s conduct with respect to the Classes as a whole, not on facts or laws applicable only to

23 Plaintiffs. Plaintiffs and the members of the Classes have suffered harm and damages as a result of

24 Defendant’s unlawful and wrongful conduct.

25          72.     Superiority: This case is also appropriate for class certification because class
26 proceedings are superior to all other available methods for the fair and efficient adjudication of this

27 controversy because joinder of all parties is impracticable. The damages suffered by the individual

28 members of the Classes will likely be relatively small, especially given the burden and expense of

     CONSOLIDATED CLASS ACTION COMPLAINT               15                  Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 16 of 26




 1 individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it would

 2 be virtually impossible for the individual members of the Classes to obtain effective relief from

 3 Defendant’s misconduct. Even if members of the Classes could sustain such individual litigation, it

 4 would still not be preferable to a class action because individual litigation would increase the delay

 5 and expense to all parties due to the complex legal and factual controversies presented in this

 6 Complaint. By contrast, a class action presents far fewer management difficulties and provides the

 7 benefits of single adjudication, economies of scale, and comprehensive supervision by a single

 8 Court. Economies of time, effort, and expense will be fostered and uniformity of decisions ensured.

 9          73.     Plaintiffs reserve the right to revise the foregoing “Class Allegations” and “Class
10 Definitions” based on facts learned through additional investigation and in discovery.

11                                    FIRST CAUSE OF ACTION
                                            Breach of Contract
12                           (On Behalf of Plaintiffs and the Nationwide Class)
13          74.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
14          75.     Plaintiffs and the Nationwide Class entered into a valid contract with Defendant for
15 the purchase and installation of the Solar Roof and other accessories. Most importantly, Plaintiffs

16 and the Nationwide Class agreed to a specific contract price for the purchase and installation of

17 their Solar Roofs, and the timeframe for performance, and Defendant agreed that the contract price

18 would only change if additional costs arose with respect to unforeseeable repairs needed to install

19 the Solar Roof.

20          76.     Plaintiffs and the Nationwide Class paid a deposit to purchase the Solar Roofs and,
21 in reliance on Defendant honoring the terms of the contracts, began to make preparations and/or

22 alterations and accommodations to their properties in anticipation of the installation and/or incurred

23 other costs and harms.

24          77.     Defendant breached its contracts with Plaintiffs and the Nationwide Class by
25 increasing the price of the Solar Roofs and refusing to perform in the manner and timeframes

26 promised in violation of the contract. Defendant also anticipatorily breached the contract by

27 representing in the Price Increase Notice that it would not perform its contractual obligation to

28

     CONSOLIDATED CLASS ACTION COMPLAINT                16                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 17 of 26




 1 install the Solar Roof unless and until Plaintiffs and the Nationwide Class accepted Defendant’s

 2 unilateral adjustment to the contract’s terms.

 3          78.     Plaintiffs and the Nationwide Class were damaged as a result of Defendant’s breach
 4 and anticipatory breach.

 5          79.     Because no comparable products to the Solar Roof currently exist, there is no
 6 adequate remedy for Plaintiffs and the Nationwide Class under the law. As such, Plaintiffs and the

 7 Nationwide Class seek specific performance under the last-agreed-upon Solar Roof Purchase

 8 Agreement that existed prior to the Price Increase Notice and/or for restitution in the amount of any

 9 sums paid to Tesla above the last-agreed-upon Solar Roof Purchase Agreement that existed prior to

10 the Price Increase Notice and any actual damages incurred as a result of Defendant’s misconduct.

11
                                      SECOND CAUSE OF ACTION
12                          Violation of the California Unfair Competition Law
                                  Cal. Bus. & Prof. Code §§ 17200 et seq.
13                          (On Behalf of Plaintiffs and the Nationwide Class)
14          80.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
15          81.     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et
16 seq., protects both consumers and competitors by promoting fair competition in commercial

17 markets for goods and services.

18          82.     The UCL prohibits any unlawful, unfair, or fraudulent business act or practice,
19 including the employment of any deception, fraud, false pretense, false promise, misrepresentation,

20 or concealment, suppression, or omission of any material fact. A business practice need only meet

21 one of the three criteria (unlawful, unfair, or fraudulent) to be considered a violation of the statute.

22          83.     Defendant’s business practices are unlawful because, as detailed below, they
23 constitute numerous violations of the CLRA and Cal. Bus. & Prof. Code § 7160.

24          84.     Defendant’s business practices are fraudulent because their representations about the
25 cost of the Solar Roof, the timeframe for installation, and the materials to be used, were likely to

26 deceive the general public and because Defendant falsely represented its services had characteristics

27 or were of a particular standard that they were not. The price of a consumer product and timeframe

28 for installation is a material term of a transaction because it directly affects a consumer’s choice of,

     CONSOLIDATED CLASS ACTION COMPLAINT                17                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 18 of 26




 1 or conduct regarding, whether to purchase a product; thus, any deception or fraud related to the

 2 price of a product or timeframe for performance is materially misleading. Defendant’s fraudulent

 3 business practices include advertising deceptively low price estimates, misrepresenting the impact

 4 that its design and review services would have on the final project cost, misrepresenting the

 5 timeframe for performance and the materials to be used, raising the price of the Solar Roof at the

 6 eleventh hour (and demanding a new price inconsistent with its previous representations), and

 7 misrepresenting the nature of its Price Increase Notices as unanticipated project costs.

 8          85.     Defendant’s business practices are also unfair. A business act or practice is “unfair”
 9 under the UCL if the reasons, justifications and motives of the alleged wrongdoer are outweighed

10 by the gravity of the harm to the alleged victims. A business act or practice is also “unfair” under

11 the UCL if the conduct or practice is immoral, unethical, oppressive, unscrupulous or substantially

12 injurious to consumers. Defendant has engaged in unfair business practices, specifically, by

13 demanding increased payments and abandoning and/or significantly delaying Solar Roof projects

14 where the customer refused to agree to Defendant’s price hikes. This conduct is unfair because the

15 injuries caused by it are not outweighed by any countervailing benefits to consumers or

16 competition, and the injury is one that consumers themselves could not reasonably have avoided.

17 Given the information asymmetry between Defendant and consumers regarding the true costs of the

18 Solar Roof, Defendant knew or had reason to know that consumers could not have reasonably

19 known or discovered the true cost of the Solar Roof when conducting any stage of the transaction,

20 including signing their Solar Roof Purchase Agreement, and Defendant knew or had reason to know

21 that consumers would be injured if Defendant abandoned their project.

22          86.     Defendant’s fraudulent, unlawful, and unfair conduct occurred during the sale of a
23 consumer product, and therefore occurred in the course of Defendant’s business practices.

24          87.     Defendant’s fraudulent, unlawful, and unfair conduct directly and proximately
25 caused Plaintiffs and the Nationwide Class damages.

26          88.     But for Defendant’s conduct as described herein, Plaintiffs and the Nationwide Class
27 would not have purchased the Solar Roof or incurred any other costs associated with the anticipated

28 installation of the Solar Roof.

     CONSOLIDATED CLASS ACTION COMPLAINT              18                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 19 of 26




 1          89.     Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs seek an order requiring
 2 Defendant to cease the unfair practices described herein and to perform the Solar Roof installations,

 3 at the price it agreed to with Plaintiffs and the Nationwide Class and/or for restitution in the amount

 4 of any sums paid to Tesla above the last-agreed-upon Solar Roof Purchase Agreement that existed

 5 prior to the Price Increase Notice and any actual damages incurred as a result of Tesla’s misconduct.

 6                                    THIRD CAUSE OF ACTION
                                Violation of Cal. Bus. & Prof. Code § 7160
 7                           (On Behalf of Plaintiffs and the Nationwide Class)
 8          90.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
 9          91.     Plaintiffs and the Nationwide Class are a “Person” as defined by Cal. Bus. & Prof.
10 Code § 7150.

11          92.     Defendant is a “solicitor” because it advertised, solicited, and induced Plaintiffs and
12 the Nationwide Class to purchase a Solar Roof.

13          93.     Plaintiffs and the Nationwide Class entered into a Solar Purchase Agreement with
14 Defendant to purchase and install the Tesla Solar Roof and other accessories. The Solar Purchase

15 Agreement is an agreement to conduct home improvement work as it includes the installation of a

16 new home improvement good and modernization of a roof on Plaintiffs’ and the Nationwide Class’s

17 properties.

18          94.     Defendant induced Plaintiffs and the Nationwide Class to enter into a Solar Purchase
19 Agreement by advertising false price estimates and installation dates, and deceptive design and

20 review services purportedly designed to control project costs.

21          95.     Defendant agreed to a contract price in writing with Plaintiffs and the Nationwide
22 Class and entered into the Solar Purchase Agreement, based on the outcome of Defendant’s project

23 review and design.

24          96.     Defendant knowingly made false statements about the true price of the Solar Roof
25 and its installation, including the promised date of installation, and/or made false statements about

26 the purpose and character of its design and review services.

27          97.     Defendant knew or should have known the true price of the Solar Roof and
28 installation timeframes and costs. Given the information asymmetry between Defendant and

     CONSOLIDATED CLASS ACTION COMPLAINT                19                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 20 of 26




 1 Plaintiff and the Nationwide Class regarding the true costs of the Solar Roof, Defendant knew or

 2 had reason to know that Plaintiffs and the Nationwide Class could not have reasonably known or

 3 discovered the falsity of Defendant’s representations when signing their Solar Roof Purchase

 4 Agreement.

 5          98.     Plaintiffs and the Nationwide Class now seek damages, including statutory damages
 6 and attorneys’ fees, under Cal. Bus. & Prof. Code § 7160.

 7
                                     FOURTH CAUSE OF ACTION
 8                       Violations of California’s Consumer Legal Remedies Act
                                       Cal. Civ. Code. §§ 1750 et seq.
 9                          (On Behalf of Plaintiffs and the Nationwide Class)
10          99.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
11          100.    Plaintiffs bring this Count on behalf of the general public in the State of California
12 and/or for the primary benefit of the general public, and their benefit only incidentally as members

13 of the general public, to enjoin conduct injurious to the general public.

14          101.    The California Consumer Legal Remedies Act (“CLRA”) sets forth a list of
15 prohibited “unfair or deceptive” practices in a “transaction” relating to the sale of “goods” or

16 “services” to a “consumer.”

17          102.    The Legislature’s intent in promulgating the CLRA is reflected in Section 1760,
18 which mandates that its terms are to be “liberally [c]onstrued and applied to promote its underlying

19 purposes, which are to protect consumers against unfair and deceptive business practices and to

20 provide efficient and economical procedures to secure such protection.”

21          103.    Defendant’s Solar Roof constitutes a “good” under Cal. Civ. Code § 1761(a) and its
22 design, review, and installation services constitute “services” under Cal. Civ. Code § 1761(b).

23          104.    Plaintiffs are a “consumer” under Cal. Civ. Code § 1761(d) and have suffered
24 damage as a result of the use or employment by Defendant of the methods, acts, or practices set

25 forth below, which are unlawful under Cal. Civ. Code § 1770(a).

26          105.    Plaintiffs, on behalf of the general public, request that the Court—to protect and
27 enforce important public rights and restrain conduct injurious to the general public—enter a

28

     CONSOLIDATED CLASS ACTION COMPLAINT                20                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 21 of 26




 1 permanent injunction prohibiting Defendant, its agents, servants, employees, and all person acting

 2 in concert with it, from engaging in the following conduct with respect to the sale of the Solar Roof:

 3          (a)     representing that Defendant’s pre-purchase and pre-installation review services have
 4 the use or benefit of detecting additional or abnormal costs associated with the purchase of a Solar

 5 Roof, when they do not, in violation of Cal. Civ. Code § 1770(a)(5);

 6          (b)     advertising to the general public that the Solar Roof will cost a certain amount with
 7 the intent to charge consumers more than that advertised amount, in violation of Cal. Civ. Code

 8 § 1770(a)(9);

 9          (c)     representing that additional, unforeseen repair services are needed in order to install
10 the Solar Roof, when they are not, in violation of Cal. Civ. Code § 1770(a)(15);

11          (d)     representing that Defendant will only change the contract price if additional repairs
12 or installation-related work is needed, when it intends to change the price of the Solar Roof product

13 itself, in violation of Cal. Civ. Code § 1770(a)(7) & (16);

14          (e)     misleading the public as to the true cost of the Solar Roofs by representing, without
15 appropriate skill and knowledge, the tax benefits to be enjoyed; and/or

16          (f)     offering to enter into contractual relationships with the general public governed by
17 unconscionable contract clauses, in violation of Cal. Civ. Code § 1770(a)(19).

18          106.    Defendant knew, or should have known, that its representations and advertisements
19 about the quality of its pre-purchase review services and the total cost of its Solar Roof contracts

20 were false or misleading.

21          107.    As a result of Defendant’s unlawful conduct, Plaintiffs suffered economic damages
22 as stated herein.

23          108.    Plaintiffs further request that the Court—to protect and enforce important public
24 rights and prevent conduct injurious to the general public—enter a permanent injunction

25 affirmatively compelling Defendant, its agents, servants, employees, and all persons acting in

26 concert with it, to disseminate corrective advertising and/or other notice to the general public

27 sufficient to accurately inform the general public about the true costs, terms, and characteristics of

28 the Solar Roof.

     CONSOLIDATED CLASS ACTION COMPLAINT               21                  Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 22 of 26




 1          109.    In addition to the public injunctive remedies set forth above, Plaintiffs also seek
 2 actual, punitive, and statutory damages pursuant to the CLRA and an award of attorneys’ fees

 3 pursuant to the private attorney general doctrine, codified at Cal. Civ. Proc. Code § 1021.5, for

 4 enforcing important rights “affecting the public interest.”

 5
                                      FIFTH CAUSE OF ACTION
 6                                 Violations of Truth in Lending Act
                                         15 U.S.C. §§ 1601 et seq.
 7                         (On Behalf of Plaintiff Malek and the TILA Subclass)
 8          110.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
 9          111.    This cause of action is brought on behalf of Plaintiff Malek and a Subclass of
10 individuals who have financed part of or all of their purchase for the Solar Roof through Tesla.

11          112.    At all relevant times herein, Tesla was engaged in a business that included providing
12 financing for the purchase of Tesla products and services.

13          113.    Plaintiff Malek and the TILA Subclass are informed and believe, and based on that
14 information and belief allege, that Tesla regularly extends, offers to extend, or arranges for the

15 extension of credit, or does other acts that make Tesla a “creditor” pursuant to Section 1602 of the

16 Federal Truth in Lending Act, 15 U.S.C. § 1601 (“TILA”).

17          114.    In the ordinary course and conduct of their business as previously described, Tesla
18 regularly extends, and for some time has regularly extended “consumer credit” as defined at 12

19 C.F.R. § 1026.2 (2021) (“Regulation Z”).

20          115.    Tesla in the ordinary course of business as previously described, and in connection
21 with “credit sale[s],” as is defined at Regulation Z, caused and is now causing customers, including

22 Plaintiff Malek and the TILA Subclass, to enter into written contracts for the purchase of Defendant

23 Tesla’s financing for the purchase of Tesla products and services. In these contracts, Tesla has

24 provided none of the consumer credit cost information and other disclosures required by 12 C.F.R.

25 § 1026 (2021). Tesla does not provide these customers with any consumer credit cost information.

26          116.    Plaintiff Malek is a natural person and the property and services to be provided
27 pursuant to his loan with Tesla were provided for personal, family, and household use. More

28 specifically, the loan was rendered in connection with Plaintiff’s principal dwelling. By and through

     CONSOLIDATED CLASS ACTION COMPLAINT                22                   Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 23 of 26




 1 the use of Tesla’s financing, Tesla failed to timely make material disclosures to Plaintiff Malek and

 2 the TILA Subclass as required by the Federal Truth in Lending Act.

 3          117.    Tesla’s acts and practices as previously alleged herein are in violation of the Truth in
 4 Lending Act and constitute unfair and deceptive acts and practices.

 5                                         PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiffs, on behalf of themselves and the Classes, respectfully request that
 7 the Court enter an order:

 8          A.      Certifying this case as a class action on behalf of the Classes defined above,
 9 appointing Plaintiffs as the representatives of the Classes, and appointing undersigned counsel as

10 class counsel;

11          B.      Declaring that Defendant’s actions, as set out above constitute a breach of contract
12 and violate the UCL, CLRA, Cal. Bus. & Prof. Code § 7160, and TILA;

13          C.      Awarding damages, including injunctive relief, actual damages, statutory damages,
14 and specific performance of contract;

15          D.      Awarding Plaintiffs and the Classes their reasonable litigation expenses and
16 attorneys’ fees;

17          E.      Awarding Plaintiffs and the Classes pre- and post-judgment interest, to the extent
18 allowable;

19          F.      Awarding such other injunctive and declaratory relief as is necessary to protect the
20 interests of Plaintiffs and the Classes; and

21          G.      Awarding such other and further relief as the Court deems reasonable and just.
22                                      DEMAND FOR JURY TRIAL
23          Plaintiffs demand a trial by jury for all issues so triable.
24

25

26

27

28

     CONSOLIDATED CLASS ACTION COMPLAINT                23                 Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 24 of 26




 1 Dated: February 22, 2022                Respectfully submitted,
 2                                         MATTHEW AMANS and BABAK MALEK,
                                           individually and on behalf of all similarly situated
 3                                         individuals,
 4                                         EDELSON PC
 5                                         By: /s/ Eve-Lynn J. Rapp
 6
                                           Rafey Balabanian (SBN 315962)
 7                                         rbalabanian@edelson.com
                                           Edelson PC
 8                                         150 California Street, 18th Floor
                                           San Francisco, California 94111
 9                                         Tel: 415.212.9300
10                                         Fax: 415.373.9435

11                                         Eve-Lynn J. Rapp (SBN 342892)
                                           erapp@edelson.com
12                                         Edelson PC
                                           2101 Pearl Street
13                                         Boulder, Colorado 80302
                                           Tel: 720.741.0084
14                                         Fax: 720.741.0081

15
                                           BERGER MONTAGUE PC
16

17                                         By:        /s/ Peter A. Muhic

18                                         PETER A. MUHIC
                                           pmuhic@bm.net
19                                         Berger Montague PC
                                           1818 Market Street, Suite 3600
20                                         Philadelphia, Pennsylvania 19103
                                           Tel: 215.875.4633
21

22                                         COTCHETT, PITRE & McCARTHY, LLP

23                                         By:        /s/ Justin T. Berger

24                                         JUSTIN T. BERGER (SBN 250346)
                                           jberger@cpmlegal.com
25                                         SARVENAZ J. FAHIMI (SBN 226148)
                                           sfahimi@cpmlegal.com
26                                         Cotchett, Pitre & McCarthy, LLP
27                                         San Francisco Airport Office Center
                                           840 Malcolm Road
28                                         Burlingame, CA 94010

     CONSOLIDATED CLASS ACTION COMPLAINT         24                    Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 25 of 26




                                           Telephone: (650) 697-6000
 1
                                           Facsimile: (650) 697-0577
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     CONSOLIDATED CLASS ACTION COMPLAINT      25                Case No. 21-cv-3577-VC (lead case)
          Case 3:21-cv-03577-VC Document 54 Filed 02/22/22 Page 26 of 26




 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Eve-Lynn J. Rapp, attest that concurrence in the filing of this document has been obtained
 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4 Executed this 22nd day of February, 2022 at Boulder, Colorado.

 5

 6                                                         /s/ Eve-Lynn J. Rapp
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     CONSOLIDATED CLASS ACTION COMPLAINT              26                   Case No. 21-cv-3577-VC (lead case)
